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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA

vs.                                           Case No. 1:06-CR-00059-008 AWI

FRANCHESKA BRIZAN
________________________/

BRIZAN’S UNOPPOSED MOTION TO EXONERATE PROPERTY BOND

      Comes Now FRANCHESKA BRIZAN (“Brizan”) by her undersigned

counsel, and files this unopposed motion to exonerate the property bond posted by

Frank A Hubble, Jr, Deed [Doc. 96], receipt number 101-9173, recorder number

2006-042429, pursuant to Rule 46(g), Federal Rules of Criminal Procedure for the

reason that the defendant has timely surrendered and the necessity for the bond has

passed.

      Assistant United States Attorney, Karen Escobar, indicated that the

government would not be opposed to the relief requested in this motion.

                                      Respectfully submitted,

                                      THE LAW OFFICE OF
                                      WILLIAM MALLORY KENT
                                      s/William Mallory Kent
                                      WILLIAM MALLORY KENT
                                      Florida Bar No. 0260738
                                      1932 Perry Place
                                      Jacksonville, Florida 32207
                                      (904) 398-8000 Telephone
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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA


v.                                       Case No. 1:06-CR-00059-008 AWI



FRANCHESKA BRIZAN
________________________________/

                                  ORDER

      The property bond posted by Frank A Hubble, Jr, Deed [Doc. 96], receipt

number 101-9173, recorder number 2006-042429 on behalf of the above defendant

is hereby Ordered EXONERATED.


IT IS SO ORDERED.

Dated: January 30, 2014
                                   SENIOR DISTRICT JUDGE
